A@ 106 (Rev¥ 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

The premises located at 6450 N. 106th St, Milwaukee,
Wisconsin and a vehicle described as a 2004 Silver Saturn
Vue, VIN: 5GZ.CZ534348829586. See Attachments Al and
A2.

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APPLICATION FOR A SEARCH WARRANT
I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

The premises located at 6450 N. 106th St, Milwaukee, Wisconsin and a vehicle described as a 2004 Silver Saturn Vue,
VIN: 5GZCZ534348829586. See Attachments Al and A2.

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B.

The basis for the search under Fed. R. Crim P. 41(c) is:
mi evidence of a crime;
CO contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
XC a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: 18 U.S.C. §§ 1030 and 875 - Computer Fraud and Interstate Communications

The application is based on these facts: See attached affidavit.

C1 Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Applicant’s signature

Special Agent Lee Chartier, FBI
Printed Name and Title

 

Sworm tg.before me and signed in my presence:

a ” Oude ’sfKighature /

Date:

 

City and State: Milwaukee, Wisconsin Hon. Nancy Joseph U.S. Magistrate Judge
Printed Name and Title
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AFFIDAVIT IN.SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Special Agent LEE CHARTIER, being first duly sworn, hereby depose and state as
follows:

I. INTRODUCTION AND AGENT BACKGROUND

1. I am a Special Agent with the Federal Bureau of Investigation. I have been
employed with the FBI since November 2007. I am currently assigned to the FBI Milwaukee
Division’s Computer Intrusion Task Force. Prior to becoming a Federal Agent, I worked in a
variety of public and private positions in the Information Technology industry. As a Special Agent
with the FBI, I investigate criminal and national security-related computer intrusion matters |
| involving botnets, distributed denial of service attacks, the distribution of spam, malicious
software, the theft of personally identifiable information, and other computer related fraud. Since
joining the FBI, I have been involved in numerous criminal and national security investigations -
involving computer intrusions, I have received education and training in computer technolo gy, and
computer-based fraud, and I have held industry certification from Microsoft and CompTIA.

2. I am an investigative or law enforcement officer of the United States within the
meaning of Title 18, United States Code, Section 2510(7); that is, an officer of the United States
who is empowered by law to conduct investigations of, and to make arrests for, offenses
enumerated in Title 18, United States Code, Section 2516.

3. I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for warrants to search the following:

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a. the premises known as 6450 N 106" Street, Milwaukee, WI, including the
curtilage (hereinafter, “Subject Premises”), more fully described in Attachment
Al; and

b. the vehicle described as a 2004 Saturn Vue, Silver, VIN: 5GZCZ53434S 829586
(hereinafter, “Subject Vehicle”) more fully described in Attachment A2;

for the seizure of the items more particularly described in Attachment B, attached hereto and
incorporated herein by reference, including the search of any computers, cellular telephones and/or
any other electronic devices located within, for the items specified in Attachment B, and the seizure
of all items in Attachment B as evidence, contraband, fruits, and instrumentalities of Title 18, |
United States Code, Sections 1030 (unauthorized computer access and computer-related fraud)
- and 875 (interstate communications) (the “Subject Offenses”).

c. Title 18, United States Code, Section 1030 (unauthorized computer access and
computer-related fraud) generally prohibits a person from “(a)(2) intentionally
accessing a computer without authorization or exceeds authorized access and
thereby obtains (C) information from any protected computer”.

d. Title 18, United States Code, Section 875 (interstate communications) generally
prohibits a person from “(d), with intent to extort from any person, firm,
association, or corporation, any money or other thing of value, transmits in
interstate or foreign commerce any communication containing any threat to injure
the property or reputation of the addressee or of another”.

4. For the reasons set forth below, there is probable cause to believe that EJJAH
GIBSON (SUBJECT) committed the Subject Offenses. There is also probable cause to believe

that the SUBJECT PREMISES is the primary residence of ELITAH GIBSON and the SUBJECT
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VEHICLE is the primary vehicle of ELIJAH GIBSON. Therefore, I respectfully submit the facts
and circumstances hereafter outlined below establish probable cause to believe that at the
SUBJECT PREMISES and in the SUBJECT VEHICLE, there are fruits, evidence, and
instrumentalities of the Subject Offenses, to include electronic devices containing evidence of
violations of Title 18, United States Code, Sections 1030 (unauthorized computer access and
computer-related fraud) and Title 18, United States Code, Sections 875 (interstate

communications).

5. I am familiar with the facts contained in this affidavit based upon my personal
involvement in this investigation, information provided by other law enforcement agents, and
private companies. Because this affidavit is submitted for the limited purpose of obtaining search
warrants, J have not included each and every fact known to me concerning this investigation. I
have set forth facts that I believe are necessary to establish probable cause to search the above
referenced facilities.

Il. PROBABLE CAUSE
A. The Investigation .

6. In March 2018, SUNY Geneseo student, VICTIM-1 (an individual known to the
FBI), reported to the SUNY Geneseo Police that her SnapChat account had been hacked and taken
over. The subject texted VICTIM-1 from telephone number 317-386-7XXX to inform her he had
taken over her account, had obtained nude photos of her, and was going to send those photos to
. others if she did not provide the code to get into her personal folder inside the application.
VICTIM-1! provided the subject the code and he subsequently accessed more nude photos of her
from this folder. At one point, the subject asked VICTIM-1, “How does it feel to get blackmailed

by a fucking perve.”

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7. Concurrently, VICTIM-1 received notification from SnapChat indicating a new
login from a “HTC Desire 530” device on 1 March 2018 at 13:15 EST. According to the SnapChat
notification, the login occurred from IP address 96.72.242.133. |

8. VICTIM-1 recalled that earlier on the same day, she received a “weird” SnapChat
message appearing to come from her friend, VICTIM-2 (an individual known to the FBI). In the
message, the individual utilizing VICTIM-2’s account requested VICTIM-1 send VICTIM-2 her
login and password under the pretext that VICTIM-2 wanted to post something “cute” to VICTIM-
1’s account. VICTIM-1 contacted VICTIM-2 separately and VICTIM-2 confirmed it was not
VICTIM-2 who had sent the message and that VICTIM-2 had received (and responded) to a similar
message (requesting login and password) from a friend of hers at Indiana University. VICTIM-2
advised VICTIM-1 that she had been “hacked.”

9. VICTIM-2 advised she did not have nude photos saved to her SnapChat, therefore,
following the “hacking” of her account, VICTIM-2 did not receive any additional messages.
VICTIM-2 received notification from SnapChat that someone had logged in to her account from
a new device, “HTC Desire 530” on 1 March 2018 from IP address 96.72.242.133. SnapChat also
advised VICTIM-2 that a new email address had been associated to her account,
foryellow456@gmail.com.

10. VICTIM-1 also received notification that her password and the associated email
address had been reset on her account, effectively locking her out. According to ‘SnapChat, the
email associated to the SnapChat account was reset to forlatina4S6@gmail.com.

11. On June 21, 2018, FBI Buffalo conducted research via the FBI’s Internet Crimes

Complaint Center (IC3) in order to locate any additional complaints referencing the IP address

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96.72.242.133. Research indicated a complaint was filed on February 22, 2018 by VICTIM-3 of
Indianapolis, Indiana. |

12. | VICTIM-3’s complaint indicated someone had hacked into her SnapChat account,
gained access to videos and photos, and was threatening to share them. VICTIM-3 provided the
subject telephone number as 317-342-2XXX and IP address as 96.72.242.133.

13. On May 24, 2018, pursuant to Grand Jury subpoena, Granite Telecommunications
LLC provided information to investigating agents regarding IP address 96.72.242.133. According
to Granite Telecommunications LLC, IP address 96.72.242.133 was assigned to InTown Suites
_ Management, 887 E Main Street, Greenwood, IN, 46143.
| - 14. On July 12, 2018, pursuant to Grand Jury subpoena, InTown Suites Management
confirmed that IP address 96.72.242.133 was assigned to the Greenwood, IN property during the
relevant time frame of 2/21/2018 — 3/2/2018. In addition to confirmation of the IP address, InTown
Suites Management also provided investigating agents records of all registered guests at the same
property (887 E Main Street, Greenwood, IN, 46143) for the same time frame. |

15. On August 13, 2018, pursuant to Grand Jury subpoena, TextNow Inc!, provided
information to investigating agents regarding telephone number 3 17-386-7XXX, to include:

Username: elinelson23456

' Name on file: NULL
Email: elinelson23456@gmail.com

Date of birth on file: 2017-01-01 .
Assigned/Unassigned dates: 2018-02-22 00:59:26 / 2018-03-20 22:29:38

 

1 Based on training, experience, and information provided to me by other law enforcement personnel, witnesses, and
publically available sources, I know TextNow is a messaging application. The TextNow website advertises that a
person can sign up for a free phone number using the “Wi-Fi only version of TextNow available for download on
your own device” and if they like it, switch to a paid plan.

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16. According to TextNow Inc., the telephone number 317-386-7XXX was active over
a time period that corresponds to the known criminal activity. |

17. On September 6, 2018, pursuant to Grand Jury subpoena, Google Inc. provided
investigating agents information regarding email account elinelson23456@gmail.com, to include:

Name: Ugly Director |

e-Mail: elinelson23456@gmail.com

Recovery e-Mail: eligibson85 ail.com
SMS: +6788478XXX

18. Google Inc. also provided the following relevant IP login history for the same
account:

8 consecutive Login events from IP 96.72.242.133 occurred during past 24 hours prior to
the following event.

| 2018/04/08-16:03:54-UTC | 96.72.242.133 | Login |

| 2018/03/20-23:48:50-UTC | 96.72.242.133] Login |

6 consecutive Login events from IP 96.72.242.133 occurred during past 24 hours prior to
the following event.
| 2018/03/16-21:48:04-UTC | 96.72.242.133} Login| |

'

19. On October 3, 2018, pursuant to Grand Jury subpoena, Google Inc. provided
investigating agents information regarding email account eligibson85@gmail.com, to include:

Name: eligibson85

e-Mail: EliGibson85@gmail.com

Recovery e-Mail: clijah.gibson12@yahoo.com

Created on: 2012/10/17-23:57:50-UTC

Terms of Service IP: 69.171.163.127, on 2012/10/17-23:57:50-UTC
SMS: +13175884XXX [US]

20. Google Inc. also provided the following relevant IP login history for the same
account:

| 2018/04/18-00:43:13-UTC | 96.72.242.133 | Login |

| 2018/04/18-00:43:13-UTC | 96.72.242.133 | Login |

| 2018/04/17-14:11:44-UTC | 96.72.242.133 | Login |

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| 2018/04/17-14:11:44-UTC | 96.72.242.133 | Login |

| 2018/04/16-23:11:04-UTC | 96.72.242.133 | Login |

| 2018/04/16-23:11:03-UTC | 96.72.242.133 | Login |

| 2018/04/15-08:49:00-UTC | 96.72.242.133 | Login |

| 2018/04/14-07:11:10-UTC | 96.72.242.133 | Login |

| 2018/04/14-07:11:08-UTC | 96.72.242.133 | Login |

| 2018/04/14-02:24:31-UTC | 96.72.242.133 | Login |

| 2018/04/10-08:13:52-UTC | 96.72.242.133 | Login |

5 consecutive Login events from IP 96.72.242.133 occurred during past 24 hours prior to
the following event. — .

| 2018/04/08-10:50:32-UTC | 96.72.242.133 | Login |

21. Insum, information provided by Google Inc. positively associates the user of email
accounts EliGibson85@gmail.com and elinelson2345 6@gmail.com with IP address
96.72.242.133, known to be assigned to InTown Suites Greenwood, IN during the relevant time

frame, and utilized in furtherance of the aforementioned crimes.

22. On August 13, 2018, FBI BF also conducted reverse social media research on e-
Mail address eligibson85@gmail.com and telephone number 678-847-8XXX (as previously
stated, provided by Google Inc. in response to subpoena for information regarding
elinelson23456@gmail.com). This research revealed the following account associated to 678-847-
8XXKX:
Facebook
User ID: 100002577077764
User Name: Elijah.gibson.733
Display Name: Elijah Gibson
Gender: Male
Locations: Current City — Indianapolis, Indiana, Hometown — Milwaukee,
Wisconsin.
23.  Areview of the Facebook profile of ELIJAH GIBSON, User ID 10000257077764,
revealed GIBSON attended Vincent High School, resides in Indianapolis, Indiana, and is single.
A cursory review of publicly viewable comments revealed the comment “I love you son” posted

on GIBSON’ profile photo by an “Angela Gibson Skinner”.
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24. A review of guest records provided by InTown Suites Management revealed that
an ANGELA GIBSON was a guest at the property located at 887 East Main Street, Greenwood,
Indiana (associated to IP address 96.72.242.133) from August 17, 2017 through April 20, 2018.

25. . Investigating agents notes the dates of ANGELA GIBSON’s stay at the InTown
Suites property correspond to the dates of the known criminal activity as well as the login dates
for both elinelson23456@gmail.com, eligibson85@gmail.com and as detailed below, Facebook

account, Display Name: Elijah Gibson. The most recent login via IP address 96.72.242.133 (to the

 

elinelson23456@gmail.com account) occurred on April 18, 2018, two days prior to ANGELA
GIBSON’s departure from the Greenwood property.

26. Additionally on October 3, 2018, pursuant to Grand Jury subpoena, Facebook
provided information to investigating agents regarding Facebook account User ID:
100002577077764 (Display Name: Elijah Gibson), to include:

Name: Elijah Gibson

Registered Email Addresses: elijah.gibson]2@yahoo.com, cligibson8S@email.c com,
elijah.gibson.7330@facebook.com

Registration Date: 2011-07-07 13:06:52 UTC

27. Facebook also provided the following relevant IP login history for the same

account:

IP Address 96.72.242.133, Time 2018-04-15 08:57:47 UTC
IP Address 96.72.242.133, Time 2018-04-11 05:16:08 UTC
IP Address 96.72.242.133, Time 2018-04-10 22:54:38 UTC
IP Address 96.72.242.133, Time 2018-04-06 14:19:58 UTC
IP Address 96.72.242.133, Time 2018-03-24 17:51:21 UTC
IP Address 96.72.242.133, Time 2018-03-11 18:15:00 UTC
IP Address 96.72.242.133, Time 2018-03-11 18:11:58 UTC
IP Address 96,72.242.133, Time 2018-03-11 06:00:00 UTC

28. An open source search for information relevant to ELIJAH GIBSON revealed a

possible residential address of 3039 Oberlin Ct, Indianapolis, Indiana.
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29. On January 11, 2019, an FBI surveillance team observed a vehicle parked in the
driveway of 3039 Oberlin Ct, Indianapolis Indiana. A search performed with the Indiana Bureau
of Motor Vehicles revealed the vehicle (Indiana plate AQX579) was registered to an ELVAH
NAIQUAN GIBSON, at address 3039 Oberlin Ct, Indianapolis, Indiana, 46268. Later on the same
day, the FBI surveillance team observed an individual identifiable as GIBSON exit the residence,
enter the vehicle registered to the same, and drive the vehicle away from the residence.

30. Following the January 11, 2019, FBI surveillance, FBI Indianapolis made multiple
attempts to re-locate ELIJAH GIBSON at 3039 Oberlin Ct, Indianapolis, Indiana, all subsequent
attempts to locate GIBSON at this address were unsuccessful.

31. On or about March 14, 2019, a search warrant for location based services for
telephone number 317-588-4XXX was issued in an attempt to locate GIBSON after physical
‘surveillance efforts were unsuccessful. However, it was determined GIBSON was no longer
utilizing the phone, and the collection was immediately deactivated.

32. On April 23, 2019, pursuant to Grand Jury subpoena, Google Inc. provided
investigating agents updated information regarding email account eligibson85@gmail.com, this
include a new telephone number attributed to the account:

Name: eligibson85 .

e-Mail: EliGibson85@gmail.com

Recovery e-Mail: elinelson23456@gmail.com
Created on: 2012/10/17-23:57:50-UTC

SMS: +13177923XXX [US]

33. On May 10, 2019, pursuant to Grand Jury subpoena, T-Mobile provided
investigating agents subscriber information telephone number +13177923XXX, which included

the following relevant information:

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Subscriber Name: ELIJAH GIBSON

Subscriber Address: 3039 OBERLIN CT INDIANAPOLIS IN 46268-1324
Subscriber Status: A

Subscriber Name Effective Date: 04/07/2018

Activation Date: 02/06/2019

Account Name: ELIJAH GIBSON

Account No: 144671442

Account Effective Date: 04/07/2018

34. On or about May 17, 2019, a search warrant for location based services for
telephone number 317-792-3XXX was issued in an attempt to physically locate GIBSON. The
resultant GPS ping data placed GIBSON on N. 106" St, Milwaukee, WI.

35. An open source search indicated that an ELIJAH GIBSON was associated to the
address 6450 N. 106" St, Milwaukee, WI as of January 2019.

36. On May 21, 2019, FBI surveillance observed a Silver Saturn Vue bearing Indiana
plate AQX5 79 parked at the residence.

37. Later on May 21, 2019, FBI Milwaukee affected an arrest of ELYAH GIBSON,
pursuant to an arrest warrant issued on March 12, 2019 in the Western District of New York. Ina
post arrest interview, GIBSON informed interviewing Agents that he had been residing at the
property located at 6450 N. 106" St. since mid-February 2019. |

38. Based on information more fully detailed above, investigating agents believes that
ELIJAH GIBSON is the individual responsible for the unauthorized access of accounts associated
to the aforementioned victims. Based on my training and experience, individuals who use
electronic devices to commit fraud are likely to keep their personal electronic devices in their
primary residence and in their vehicles, therefore investigating agents believes evidence of the
alleged crimes will be present in electronic devices recovered from the search locations referenced

above and described in Attachments Al and A2.
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B. Probable Cause Relating to the Search of the SUBJECT PREMISES and SUBJECT
VEHICLE

39. Based on my training and experience, I know that searching the SUBJECT
PREMISES further described in Attachment Al may provide crucial evidence of the Subject
Offenses described above, including electronic devices on which the Subject Offenses were
committed (ex. mobile telephones which were used to access victim social media accounts) or on
which records thereof may be retained (ex. photographs saved to local drives/storage on mobile
phones, thumb drives, and or computers). Based on my training and experience, I know that
individuals often retain such evidence in their residences. Therefore, there is probable cause to
believe evidence of the fraud will be located in the requested search locations, and that there is
probable cause to seize such evidence.

40. _ Lalso know that searching the SUBJECT PREMISES may also provide crucial
evidence of the identity of the co-conspirators of the fraud, as well as exclude the innocent from
further suspicion. Based on my training and experience, I know that individuals often retain
records and other documents that establish indicia of use, ownership, occupancy and/or
‘possession of their residences, vehicles and/or items in their care, custody and control.
Therefore, there is probable cause to believe these records will be in the locations to be searched,
and there is probable cause to seize these records and documents, including, but are not limited
to, utility and telephone bills, mail envelopes, correspondence, and identification documents,
travel documents and other items more particularly described in Attachment B.

41. Based on my training and experience, I know that individuals who are involved in
criminal activities often keep evidence of their illegal activities in their vehicles. For instance, it

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has been my experience that subjects leave and transport electronic devices (to include mobile |
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phones, laptops, and thumb drives) within their vehicles. For the above-mentioned reasons, there
is probable cause to believe evidence of the Subject Offenses, including cellular telephones and
other electronic devices, are also located in the SUBJECT VEHICLE.

C. Probable Cause Relating to Electronically Stored Evidence (ESD)

42. Based on my training and experience as well as my investigation into this matter,
I know that computers, cellular telephones and other electronic devices are frequently used in the
Subject Offenses, such as the offenses described above. In these types of crimes, I know that
the computer, cellular telephone and other electronic devices will generally serve both as an
instrumentality for committing the crime, and also as a storage medium for evidence of the
crime. For instance, computers (including cellular telephones and other electronic devices) may
contain many of the details that were used in furtherance of the offense, such as records of email
accounts that were created or received communication relevant to the offense (ex. notifications
from Snapchat), local and/or removable storage on which the photographs obtained as a result of
the offense were saved, and/or mobile communication applications which could contain records
of both the original offense and subsequent communication regarding the same. Therefore, the
~ computer (including cellular telephone and other electronic devices) is an instrumentality of the
crime because it is used as a means of committing the criminal offense as well as likely to be a
storage medium for evidence of crime.

43. Here, based on a review of the evidence related to this investigation, I am aware
that the Subject Offenses were committed through the use of electronic devices. After
engineering his way into the victim accounts, the Subject utilized a mobile device to gain
unauthorized access to the private accounts, to view the victim’s photographs and videos, and to
identify further victims (by exploiting the contact/friend list of the victim account). Therefore,

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these devices were not only the mechanism by which the offense was perpetuated, but also likely
contain evidence of the crime to include records of email notifications received following access

to the victim accounts, mobile communication applications that.contain text messages and/or call
records detailing subsequent contact the Subject had with the victims, and photographs that the _

Subject viewed and likely retained following his unauthorized access of the victim accounts.

44. Based on my training and experience, I know that individuals often keep their
cellular telephones, computers and other electronic devices in their residence and in their
vehicles. Therefore, there is probable cause to believe that electronic devices that are
instrumentalities of the crime as well as contain evidence of the crime are located within the

SUBJECT PREMISES and SUBJECT VEHICLE.

il. COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS
45. As described above and in Attachment B, this application seeks permission to
search for records that might be found in the SUBJECT PREMISES and SUBJECT
VEHICLE in whatever form they are found. One form in which the records might be found is
data stored on a computer’s hard drive, other storage media, and/or cellular telephone. Thus, the
warrant applied for would authorize the seizure of electronic storage media or, potentially, the
copying of electronically stored information, al] under Rule 41(e)(2)(B).
| 46. I submit that if a computer or storage medium, to include cellular telephones, are
found in the search locations described in above and in Attachments Al and A2, there is
probable cause to believe those records will be stored on that computer or storage medium, for at
least the following reasons:
a. Based on my knowledge, training, and experience, I know that computer files or
remnants of such files can be recovered months or even years after they have been

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downloaded onto a storage medium, deleted, or viewed via the Internet.
Electronic files downloaded to a storage medium can be stored for years at little
or no cost. Even when files have been deleted, they can be recovered months or
years later using forensic tools. This is so because when a person “deletes” a file
on a computer, the data contained in the file does not actually disappear; rather,
that data remains on the storage medium until it is overwritten by new data.

b. Therefore, deleted files, or remnants of deleted files, may reside in free space or
slack space—that is, in space on the storage medium that is not currently being
used by an active file—for long periods of time before they are overwritten. In
addition, a computer’s operating system may also keep a record of deleted data in
a “swap” or “recovery” file.

c. Wholly apart from user-generated files, computer storage media—in particular,
computers’ internal hard drives—contain electronic evidence of how a computer
has been used, what it has been used for, and who has used it. To give a few
examples, this forensic evidence can take the form of operating system
configurations, artifacts from operating system or application operation, file
system data structures, and virtual memory “swap” or paging files. Computer
users typically do not erase or delete this evidence, because special software is
typically required for that task. However, it is technically possible to delete this
information. |

d. Similarly, files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary Internet directory or “cache.”

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47. As further described in Attachment B, this application seeks permission to locate
not only computer files that might serve as direct evidence of the crimes described on the
warrant, but also for forensic electronic evidence that establishes how computers were used, the
purpose of their use, who used them, and when. There is probable cause to believe that this
forensic electronic evidence will be on any storage medium located in the search locations
described in above and in Attachments Al and A2 because:

a. Data on the storage medium can provide evidence of a file that was once on the
storage medium but has since been deleted or edited, or of a deleted portion of a file (such as a
paragraph that has been deleted from a word processing file). Virtual memory paging systems
can leave traces of information on the storage medium that show what tasks and processes were
recently active. Web browsers, e-mail programs, and chat programs store configuration |
information on the storage medium that can reveal information such as online nicknames and
passwords. Operating systems can record additional information, such as the attachment of
peripherals, the attachment of USB flash storage devices or other external storage media, and the
times the computer was in use. Computer file systems can record information about the dates
files were created and the sequence in which they were created, although this information can
later be falsified.

b. As explained herein, information stored within a computer and other electronic
storage media may provide crucial evidence of the “who, what, why, when, where, and how” of
the criminal conduct under investigation, thus enabling the United States to establish and prove
each element or alternatively, to exclude the innocent from further suspicion. In my training and
experience, information stored within a computer or storage media (e.g., registry information,

communications, irnages and movies, transactional information, records of session times and

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durations, internet history, and anti-virus, spyware, and malware detection programs) can
indicate who has used or controlled the computer or storage media. This “user attribution”
evidence is analogous to the search for “indicia of occupancy” while executing a search warrant
at aresidence. The existence or absence of anti-virus, spyware, and malware detection programs
may indicate whether the computer was remotely accessed, thus inculpating or exculpating the
computer owner. Further, computer and storage media activity can indicate how and when the
computer or storage media was accessed or used. For example, as described herein, computers
typically contain information that log: computer user account session times and durations,
computer activity associated with user accounts, electronic storage media that connected with the
computer, and the IP addresses through which the computer accessed networks and the internet.
Such information allows investigators to understand the chronological context of computer or
electronic storage media access, use, and events relating to the crime under investigation.
Additionally, some information stored within a computer or electronic storage media may
provide crucial evidence relating to the physical location of other evidence and the suspect. - For
example, images stored on a computer may both show a particular location and have geolocation
information incorporated into its file data. Such file data typically also contains information
indicating when the file or image was created. The existence of such image files, along with
external device connection logs, may also indicate the presence of additional electronic storage
media (e.g., a digital camera or cellular phone with an incorporated camera). The geographic
and timeline information described herein may either inculpate or exculpate the computer user.
Last, information stored within a computer may provide relevant insight into the computer user’s
state of mind as it relates to.the offense under investigation. For example, information within the

computer may indicate the owner’s motive and intent to commit a crime (e.g., internet searches

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indicating criminal planning), or consciousness of guilt (e.g., running a “wiping” program to
destroy evidence on the computer or password protecting/éencrypting such evidence in an effort
to conceal it from law enforcement).

c. A person with appropriate familiarity with how a computer works can, after
examining this forensic evidence in its proper context, draw conclusions about how computers
were used, the purpose of their use, who used them, and when.

d. The process of identifying the exact files, blocks, registry entries, logs, or other
forms of forensic evidence on a storage medium that are necessary to draw an accurate
conclusion is a dynamic process. While it is possible to specify in advance the records to be
sought, computer evidence is not always data that can be merely reviewed by a review team and
passed along to investigators. Whether data stored on a computer is evidence may depend on
other information stored on the computer and the application of knowledge about how a
computer behaves. Therefore, contextual information necessary to understand other evidence
also falls within the scope of the warrant.

e. Further, in finding evidence of how a computer was used, the purpose of its use,
who used it, and when, sometimes it is necessary to establish that a particular thing is not present
on a storage medium. For example, the presence or absence of counter-forensic programs or
anti-virus programs (and associated data) may be relevant to establishing the user’s intent.

f. As described above, a computer (including cellular telephone and other electronic
devices) is an instrumentality of the crime because it is used as a means of committing the
criminal offense as well as likely to be a storage medium for evidence of crime. From my
training and experience, I believe that a computer used to commit a crime of this type may

contain: data that is evidence of how the computer was used; data that was sent or received;

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notes as to how the criminal conduct was achieved: records of Internet discussions about the
crime; and other records that indicate the nature of the offense.
48. Necessity of seizing or copying entire computers or storage media. In most cases,

a thorough search of a premises for information that might be stored on storage media often
requires the seizure of the physical storage media and later off-site review consistent with the
warrant. In lieu of removing storage media from the premises, it is sometimes possible to make
an image copy of storage media. Generally speaking, imaging is the taking of a complete
electronic picture of the computer’s data, including all hidden sectors and deleted files. Either
seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded
on the storage media, and to prevent the loss of the data either from accidental or intentional
destruction. This is true because of the following:

a. The time required for an examination. As noted above, not all evidence takes the
form of documents and files that can be easily viewed on site. Analyzing evidence of how a
computer has been used, what it has been used for, and who has used it requires considerable
time, and taking that much time on premises could be unreasonable. As explained above,
because the warrant calls for forensic electronic evidence, it is exceedingly likely that it will be
necessary to thoroughly examine storage media to obtain evidence. Storage media can store a
large volume of information. Reviewing that information for things described in the warrant can
take weeks or months, depending on the volume of data stored, and would be impractical and
invasive to attempt on-site.

b. Technical requirements. Computers can be configured in several different ways,
featuring a variety of different operating systems, application software, and configurations.

Therefore, searching them sometimes requires tools or knowledge that might not be present on

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the search site. The vast array of computer hardware and software available makes it difficult to
know before a search what tools or knowledge will be required to analyze the system and its data
on the Premises. However, taking the storage media off-site and reviewing it in a controlled
environment will allow its examination with the proper tools and knowledge.

c. Variety of forms of electronic media. Records sought under this warrant could be
stored in a variety of storage media formats that may require off-site reviewing with specialized
forensic tools. |

49. Nature of examination. Based on the foregoing, and consistent with Rule
41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying
storage media that reasonably appear to contain some or all of the evidence described in the
warrant, and would authorize a later review of the media or information consistent with the
warrant. The later review may require techniques, including but not limited to computer-assisted
scans of the entire medium, that might expose many parts of a hard drive to human inspection in
order to determine whether it is evidence described by the warrant. |

it, CONCLUSION

50. Based upon the foregoing, I submit that this affidavit supports probable cause that
ELIJAH GIBSON committed the Subject Offenses, and that evidence of the offenses, including
the electronic storage media and other physical evidence, contraband, fruits, and
instrumentalities of the Subject Offenses, further described in Attachment B, will likely be
_ found in and within the SUBJECT PREMISES and SUBJECT VEHICLE, more particularly
described in Attachments Al and A2. I respectfully request authority to search the SUBJECT
PREMISES and SUBJECT VEHICLE, where the items specified in Attachment B may be

found, and to seize all items listed in Attachment B as evidence, contraband, fruits, and

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instrumentalities, as well as any other evidence, contraband, fruits and instrumentalities of the
Subject Offenses, including seizing all electronic devices and searching them for the items

specified in Attachment B.

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ATTACHMENT A
(Property to be Searched)

The premises located at 6450 N. 106 St, Milwaukee, Wisconsin (“PREMISES”),
more fully described in Attachment A1 (attached hereto and incorporated herein).

A vehicle described as a 2004 Saturn Vue, Silver, VIN: 5GZCZ53434S829586 as more
fully described in Attachment A2 (attached hereto and incorporated herein).

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Attachment Al
Premises to be Searched

The premises to be searched is 6450 N. 106® St., Milwaukee, Wisconsin, which includes
the curtilage, and any garages and outbuildings on the curtilage. The residence is a two-story
multi-unit bearing a combination of yellowish siding and brick fagade, with white shutters and a
black roof. The driveway is located to the right of the home (facing the home). The front of the
house provides entry to two — addresses (6448 N. 106" St. and 6450 N. 106"St.). The

entrance to 6450 106" St. is located to the left. Attachment A1 includes photographs of the

house.

      

6450 N 106th St
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ATTACHMENT A2
Description of Vehicle to be Searched

The . vehicle to be searched is described as a 2004 Saturn Vue, Silver, VIN:
5GZCZ534348829586. Attachment A2 includes photographs of the vehicle located in the

driveway of 6450 N. 106" St., Milwaukee, Wisconsin.

 

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ATTACHMENT B
Items to be Seized

A. Evidence, Fruits, and Instrumentalities of the Subject Offenses
This Warrant authorizes law enforcement agents and officers to enter the search
locations specified in Attachments AJ and A2, including, where necessary, by means of trespass
over private property, and to search for and seize from the locations specified in Attachments Al
and A2 evidence, fruits, and instrumentalities of violations of Title 18, United States Code,
_ Sections 1030 (Fraud and Related Activity in Connection with a Computer) and 875 (Interstate
Communications) (the “Subject Offenses”) described as follows: |

1, Photographs, videos, or other personal information regarding known or potential
victims;

2. All mobile telephones, smart phones, personal computers, tablet devices, other
communication devices, and electronic and digital media, including compact discs, computer hard
drives, SIM cards, and thumb drives, including the data stored within these devices;

3. Records, information and property concerning indicia of use, ownership,
possession , or control of the search locations described in Attachment AJ and A2, and the
items located within Attachment AJ and A2, including without limitation, utility and telephone
bills, mail envelopes, addressed correspondence, diaries, statements, identification documents,
address books, telephone directories, and keys;

4. Keys, storage combinations, passwords, and paperwork which indicate any other

storage containers or facilities that could contain evidence of the Subject Offenses.

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B. Search and Seizure of Electronically Stored Information

The items to be searched and seized from the search locations described in Attachment
AJ and A2 also include any computer devices and storage media that may contain any
electronically stored information falling within the categories set forth in Section A of this
Attachment above (and includes the seizure of such electronically stored information contained
within), including, but not limited to, desktop and laptop computers, cellular telephones/smart
phones, disk drives, routers, modems, thumb drives, personal digital assistants, digital cameras,
and scanners, network equipment (the “Subject Devices”). In lieu of seizing any such computer
devices or storage media, this warrant also authorizes the copying of such devices or media for

later review.

The items to be seized from the search locations described in Attachments Al and A2

also include:

1. evidence of who used, owned, or controlled the Subject Devices at the time the
things described in this warrant were created, edited, or deleted, such as logs, registry entries,
configuration files, saved usernames and passwords, documents, browsing history, user profiles,
email, email contacts, “chat,” instant messaging logs, photographs, and correspondence;

2. evidence indicating how and when the Subject Devices were accessed or used to
determine the chronological context of device access, use, and events relating to crime under
investigation and to the device user;

3. evidence indicating the Subject Device user’s state of mind as it relates to the

crime under investigation;

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4. evidence of software that would allow others to control the Subj ect Devices, such
as viruses, Trojan horses, and other forms of malicious software, as well as evidence of the
presence or absence of security software designed to detect malicious software;

5. evidence of the lack of such malicious software;

6. evidence of the attachment to the Subject Devices of other storage devices or
similar containers for electronic evidence;

7. evidence of counter-forensic programs (and associated data) that are designed to
eliminate data from the Subject Devices;

8. evidence of the times the Subject Devices was used;

9. passwords, encryption keys, and other access devices that may be necessary to
access the Subj ect Devices

10. documentation and manuals that may be necessary to access the Subject Devices
or to conduct a forensic examination of the Subject Devices;

| 11. records of or information about Internet Protocol addresses used by the Subj ect
Devices (including port numbers);

12. records of or information about the Subject Devices’ Internet activity, including
firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web pages,
search terms that the user entered into any Internet search engine, and records of user-typed web
addresses;

13. all location history associated with the Subject Device;

14. contextual information necessary to understand the evidence described in this

attachment.

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Definitions

1. As used above, the terms “records” and “information” includes all forms of
creation or storage, including any form of computer or electronic storage (such as hard disks or
other media that can store data); any handmade form (such as writing); any mechanical form
(such as printing or typing); and any photographic form (such as microfilm, microfiche, prints,
slides, negatives, videotapes, motion pictures, or photocopies).

2. The term “computer” includes all types of electronic, magnetic, optical,
electrochemical, or other high speed data processing devices performing logical, arithmetic, or
storage functions, including desktop computers, notebook computers, mobile phones, tablets,
server computers, and network hardware.

3. The term “storage medium” includes any physical object upon which computer
data can be recorded Examples include hard disks, RAM, floppy disks, flash memory, CD-
ROMs, and other magnetic or optical media.

4, During the course of the search, photographs of the searched items and/or

premises may also be taken to record the condition thereof and/or the location of items therein.

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